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                                                                  UNITED STATES DISTRICT COURT
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                                                                                     LITIGATION; MEMORANDUM OF
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                                17                                                   SUPPORT THEREOF

                                18                                                   Hearing Date: February 1, 2024
                                                                                     Time: 10:00 AM
                                19                                                   Judge: Hon. Jacqueline Scott Corey
                                                                                     Courtroom: 8
                                20
                                                                                     Complaint Filed: September 28, 2023
                                21
                                                                                     [Declarations ofSara A. Begley, Tiffany Hart,
                                22                                                   Thomas E. Hill, and Jessica Quon-Vaili;
                                                                                     Request for Judicial Notice; Exhibits in
                                23                                                   Support ofMotion; and Proposed Order, All
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1                                           NOTICE OF MOTION

2    TO PLAINTIFF U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION AND ITS

3    ATTORNEYS OF RECORD:

4           PLEASE TAKE NOTICE that on February 1, 2024, at 10:00 a.m., or as soon thereafter as the

5    matter may be heard before the Honorable Jacqueline Scott Corley in Courtroom 8 of the United

6    States District Court for the N orthem District of California, located at 450 Golden Gate Avenue, San

7    Francisco, California, Defendant Tesla, Inc. ("Tesla") will and hereby does move the Court for an

8    order staying all proceedings in this matter.

9                           GROUNDS FOR MOTION AND RELIEF SOUGHT

10          This motion is brought on two grounds.

11          First, a stay is warranted based on the existence of two prior-filed, substantially-similar, and

     concurrently-pending state court proceedings. See Colo. River Water Conservation Dist. v. United

     States, 424 U.S. 800, 817 (1976). Those cases are Department of Fair Employment and Housing v.

     Tesla, Inc., Alameda County Superior Court No. 22CV006830 (the "CRD Case"), 1 and Vaughn, et

     al. v. Tesla, Inc., et al., Alameda County Superior Court No. RG 17882082 (the "Vaughn Case," and

     together with the CRD Case, the "State Court Actions"), both of which are now before the Honorable

     Evelio M. Grillo, Alameda County Superior Court Judge. The Court should stay all proceedings in

18   this case in deference to and pending the completion of the State Court Actions.

19           Second, a stay is also warranted because Plaintiff failed to comply with its statutory obligation

20   to engage in meaningful and good-faith conciliation with Tesla prior to filing this lawsuit. See 42

21   U.S.C. § 2000e-5(b); Mach Mining, LLCv. EEOC, 575 U.S. 480, 486-87 (2015). A stay is necessary

22   and appropriate until such time as Plaintiff has fulfilled its pre-suit conciliation obligations.

23

24

25
     1 The California Department of Fair Employment and Housing ("DFEH") is the former state agency
26   counterpart to EEOC. In 2022, the DFEH's name was changed to the California Civil Rights
     Department ("CRD"). This name change does not impact the statutory duties, responsibilities
27   and/or authority of the agency. The parties in the CRD Case now use the name CRD when
     referring to the Plaintiff in that litigation.
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      DEF. TESLA, INC. 'S NOTICE & MOT. TO STAY ALL PROCEEDINGS; MEMO. OF POINTS AND
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1                           MEMORANDUM OF POINTS AND AUTHORITIES

2    I.       INTRODUCTION

3             Tesla asks the court to halt the "unseemly" toxic interagency competition between EEOC and

4    CRD, which has resulted in EEOC ignoring its statutory pre-suit obligations so it could rush to file

5    duplicative litigation and repeat similar-if not identical-false allegations against Tesla that have

6    already been made by CRD and private plaintiffs in separate state court actions.

7             EEOC's sprint to the courthouse, which saw the agency hastily wrap up its sham pre-suit

8    investigation, without any meaningful disclosures to Tesla, was done at the expense of express

9    Congressionally mandated public policy and in pursuit of headlines to show it, and not CRD, is the

10   toughest regulator on the block.

11            Federal case law sets out a clear test to avoid EEOC's duplicative piling on and to protect

     blameless defendants from becoming collateral damage in a well-documented turf war between

     federal and state regulators. EEOC fails this test and Tesla asks that the Court stay EEOC's suit.

              This case is the third civil action filed against Tesla, alleging that different individuals have

     at different times, in different locations, and in a wide variety of different incidents (1) engaged in

     unlawful discrimination, harassment and retaliation against Black employees at Tesla's auto

     manufacturing plant in Fremont, California, and (2) thereby created a hostile work environment for

18   those employees. All of these actions propose to adjudicate their claims on a class or group basis.

19   In its Complaint, EEOC asserts two claims for relief under Title VII of the Civil Rights Act of 1964,

20   as amended, 42 U.S.C. §§ 2000e, et seq.: (1) Harassment/Hostile Work Environment Because of

21   Race; and (2) Retaliation. Dkt. No. 1 ,, 44-57. This lawsuit is substantially similar-indeed,

22   virtually identical-to the CRD and Vaughn Cases now before the Alameda County Superior Court,

23   both of which have long been active. The Vaughn Case was filed on November 13, 2017, and the

24   CRD Case was filed on February 2, 2022, and each case has and continues to be vigorously litigated-

25   with more than than 55 substantive motions submitted, more than 65 orders issued, and more than 55

26   hearings held, collectively, in the two actions.

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1            The State Court Actions and the Complaint filed in this case arise out of the same alleged

2    conduct (i.e., alleged racial discrimination, harassment and retaliation) and seek to vindicate the same

3    legal rights on behalf of the same individuals (i.e., current and former Black employees of Tesla at

4    the Fremont factory).     EEOC is well aware of the State Court Actions, even though EEOC

5    conspicuously fails even to mention them in its Complaint. What has emerged in the long-running

6    State Court Actions is that each case attempts to elevate a disparate collection of unrelated incidents

7    involving different actors into a false narrative that ignores Tesla's track record of equal employment

8    opportunity, and that inaccurately accuses an employer who has welcomed a majority-minority

9    workforce into its factory of being unlawfully hostile to the very workers that Tesla invited into and

10   promoted within its workforce.      Ironically, the unrelated incidents that form the basis of the

11   allegations involve individuals who purportedly violated Tesla's clear written anti-discrimination and

     non-retaliation policies, and its robust procedures for enforcing those policies.

             This Court can and should decline EEOC's invitation to open up a third duplicative action

     involving the same claims and factual allegations. Simultaneous prosecution of the State Court

     Actions and this case will involve substantial duplication of effort, create a significant risk of

     inconsistent court rulings, and result in an inefficient and wasteful use of judicial resources. The

     Court should therefore stay all proceedings in this case in deference to and pending the completion

18   of the State Court Actions, pursuant to the Colorado River doctrine. See Colo. River, 424 U.S. at

19   817. As explained below, the eight-part test for application of the Colorado River doctrine is easily

20   satisfied here.

21           This case should also be stayed due to EEOC's complete failure to comply with its statutory

22   obligation to engage in meaningful and good faith conciliation with Tesla prior to filing this lawsuit.

23   42 U.S.C. § 2000e-5(b). Congress has directed EEOC to engage in a robust, multi-step, pre-suit

24   process of thorough investigation and conciliation. Id The primary goal of this process is to resolve

25   problems without the need for litigation, and Congress confirmed the importance of this goal by

26   authorizing litigation only if the pre-suit process is unable to resolve the matter. See Mach Mining,

27   575 U.S. at 486. But here, EEOC ignored the pre-suit process mandated by Congress and thwarted

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                               1    Title VII' s goal of reducing the need for litigation. Determined to grab headlines away from CRD in

                               2    these agencies' continuing and unseemly turf war, EEOC conducted a one-sided investigation of

                               3    Tesla in which it never heard or even solicited Tesla's side of the story. Instead, EEOC only gestured

                               4    at conciliation without providing or intending to provide Tesla any meaningful opportunity to remedy

                               5    the discriminatory practices that EEOC now alleges. EEOC's objective was never to do as directed

                               6    by the statute that gives EEOC its only source of authority, but only to "check the pre-suit boxes" so

                               7    it could file this lawsuit and issue its accompanying press release. A stay is thus necessary and

                               8    appropriate until such time as EEOC has fulfilled its pre-suit obligation to "endeavor to eliminate

                               9    [the] alleged unlawful employment practice by informal methods of conference, conciliation, and

                               10   persuasion." § 2000e-5(b); see also Mach Mining, 575 U.S. at 486--87.

                               11   II.    STATEMENT OF ISSUES TO BE DECIDED
        ...0                   12           1.     Whether this proceeding should be stayed under the Colorado River doctrine pending
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               -               13   the outcome of the substantially similar State Court Actions. See 424 U.S. at 817.
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                       ~   ~        obligation to engage in meaningful and good faith conciliation with Tesla regarding the allegations
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     ;:s rnE--i:....           16   in EEOC's Complaint. See 42 U.S.C. § 2000e-5(b).
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        0                      17   III.   STATEMENT OF RELEVANT FACTS
        "'"
                               18          A.      Tesla Has Employed A Majority-Minority Workforce Of More Than 20,000 At
                                                   The Factory.
                               19
                                           Tesla is the world's leading electric car company. As Tesla grows, it provides ever-increasing
                               20
                                    opportunities and high-paying jobs to thousands of employees of different backgrounds, experiences
                               21
                                    and skills. Since 2010, Tesla has heavily invested in Fremont. The auto manufacturing plant (the
                               22
                                    "Factory") that it opened in Fremont and still operates there is the last remaining plant of its kind in
                               23
                                    the state. See Deel. of Tiffany Hart ("Hart Deel.") ,r 3.
                               24
                                           Tesla has created more full-time manufacturing job opportunities for workers in Northern
                               25
                                    California than any other in-state manufacturer. Id. ,r 4. Tesla attracts a diverse workforce and
                               26
                                    provides work to many employees who do not have a college degree or have only limited or no prior
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                               1    job experience. Id.    The opportunities created by Tesla have enabled members of its majority-

                               2    minority workforce to lift themselves out of poverty, buy their first home, send the first members of

                               3    their family to college, and/or obtain a second chance after criminal prosecution and conviction.

                               4           Tesla's official anti-harassment and -discrimination policies have long emphasized Tesla's

                               5    commitment to providing a workplace that is free from unlawful discrimination and harassment, and

                               6    that encourages employees to report any violations of those policies. Id. , 5; and Def.'s Exhibits in

                               7    Supp. of Mot. ("Exhibits"), Exh. E. More than 200 Tesla workers have submitted sworn declarations

                               8    in the Vaughn Case attesting to what these policies have long plainly stated: Tesla welcomes all and

                               9    prohibits all forms of discrimination, and Black workers can and do thrive at Tesla. Id. ; see also Hill

                               10   Deel., 4.

                               11          B.      On The Heels Of Private Lawsuits, EEOC And CRD Initiate Overlapping
        ...0                                       Investigations Into Alleged Race Discrimination At The Factory.
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                                           Despite Tesla's inclusive policies, certain Northern California attorneys have targeted Tesla
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 Ol)G><NN                           and helped create a deliberately false narrative about the Company. Sadly, EEOC and CRD---two
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                                    government agencies that obtain all their power from statutes that direct them to be neutral problem-
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                                    solvers first, and litigants only second-have eagerly embraced this private attorney-generated
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:::r: 0                             narrative without adequate investigation, and then launched an inter-agency turf war to grab
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        "'"                         sensational headlines. This has resulted in an unfortunate rush to judgment in which continually
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                                    broadening allegations keep stockpiling without anyone-private contingency fee counsel or
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                                    government attorneys alike-taking the time to hear Tesla' s side of the story or actually talk to the
                               20
                                    workers they purport to represent.
                               21
                                           In 2016, former Fremont factory worker DeWitt Lambert claimed that "he experienced racial
                               22
                                    harassment" and "Tesla did nothing about it." His case received individualized scrutiny at an
                               23
                                    arbitration in which the evidence showed that Lambert "himself participated in the use of racially-
                               24
                                    charged language" and "used foul language and racial epithets in the workplace." Lambert and his
                               25
                                    co-workers used the "N" word with one another, and "there was no credible evidence that its use was
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                                    racially harassing to---or unwelcome by"-Lambert. Retired California Superior Court Judge Lynn
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1    Duryee ruled Lambert did not suffer harassment or a hostile work environment, that Tesla did not

2    retaliate against him, and that Tesla's response was "reasonable, effective and appropriate." See

3    Def.'s Request for Judicial Notice ("RJN"), 11; and Exh. 0 at 16, 17, 29.

4           On the heels of this decision, the Vaughn Case was filed on November 13, 201 7, alleging

5    class-wide discrimination, harassment and retaliation by Tesla against Black employees at the

6    Factory. The allegations in the Vaughn Case mirror those made by EEOC in this case; i.e., that Black

7    employees at the Factory are referred to by co-workers using the "N-word", exposed to racist graffiti,

8    and retaliated against when they report this harassment. See RJN, 3; and Exh. C (operative Second

9    Amended Complaint ("SAC") in the Vaughn Case ).

10          In May 2019, EEOC filed a charge on behalf of both itself and CRD against Tesla, alleging

11   race discrimination at the Factory; specifically, that a racially hostile work environment exists and

     that Tesla routinely retaliates against Black employees (the "Commissioner's Charge"). See RJN, 5;

     and Exh. F. The Commissioner's Charge consists of one page and includes no factual details

     regarding its allegations. Id.   Just three weeks later, CRD filed its own two-page "Director's

     Complaint" against Tesla, alleging exactly the same misconduct in exactly the same fact-free and

     conclusory manner. See RJN, 6; and Exh. G. If a reasonable government official had credited even
     a fraction of the broad and incendiary allegations made in the 2017 Vaughn complaint, or in the 2019

18   EEOC and CRD administrative charges, that official or others from his agency would have

19   immediately visited the Factory, sought to interview Tesla's Human Resources personnel and

20   management, or otherwise tried to determine promptly if there was a serious problem, and if so, to

21   promptly fix it. Instead, both CRD and EEOC did nothing for years: they barely, if at all, engaged

22   with Tesla, and neither accepted Tesla's invitations to visit the Factory and see for themselves

23   whether it was "hostile," as the false allegations claimed. See Deel. of Jessica Quon-Vaili ("Quon-

24   Vaili Deel."), 12.

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                               1           C.      Hindered By A Brewing Turf War, EEOC And CRD Fail To Coordinate Their
                                                   Overlapping Enforcement Proceedings.
                               2

                               3           Title VII and EEOC regulations have long recognized that federal and state fair employment

                               4    regulators have overlapping jurisdictions, with Title VII and state employment laws prohibiting much

                               5    of the same misconduct. Thus, historically, EEOC has coordinated with CRD to avoid duplicative

                               6    enforcement actions. As authorized by EEOC regulations, EEOC and CRD are parties to a long-

                               7    standing "Worksharing Agreement," allowing each agency to receive discrimination complaints on

                               8    behalf of the other and facilitating coordination between the two of them. See 29 C.F .R. § 1626.1 O;

                               9    RJN, 7; and Exh. H. 2 Prior to 2019, EEOC and DFEH rarely, if ever, filed overlapping Director's

                               10   Complaints and Commissioner's Charges covering the same alleged discrimination. And, on at least

                               11   one occasion where this did occur-in the agencies' recent dual investigations into gender
        ...0                   12   discrimination at Activision Blizzard-EEOC and DFEH agreed to divide among themselves which
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               -               13   types of discrimination each agency would look into, specifically to avoid duplicative investigations
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 Ol)G><NN                           into the same allegations. See RJN, 13; and Exh. Q; see also Hill Deel., 16; and Exh. S (Taibbi,
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                                    The Lawyers Who Ate California, Part II, TK News (May 14, 2022)) (the "Taibbi Article").
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        ;:s rnE--i:....        16          Unfortunately, an "unseemly" turf war (as one federal court judge describes it) has developed
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                                    between EEOC and CRD. See id.; RJN, 8; and Exh. I at 26:17. With each agency increasingly
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                               18   eager to file headline-grabbing complaints and report multimillion dollar settlements, their historical

                               19   coordination and cooperation collapsed. In the Activision case, for instance, the agencies' agreed-

                               20   upon division of labor fell apart, and CRD attempted to intervene in EEOC' s federal action against

                               21   Activision to object to a settlement that EEOC had negotiated, which would have secured substantial

                               22   relief for employees whose interests are supposed to be the sole concern of both EEOC and CRD.

                               23   See RJN ,, 8, 13, 14; Hill Deel., 16; and Exhs. I, Q, R, and S (Taibbi Article). United States District

                               24   2 CRD is a Fair Employment Practice Agency ("FEPA") of EEOC.         As such, CRD has a contract
                                    and W orksharing Agreement with EEOC by which the two agencies contractually serve as each
                               25   other's agents for the processing and drafting of charges, communicate about cases received by
                                    each agency, and through which CRD obtains federal funding for its handling of cases that could
                               26   otherwise be investigated by EEOC. Importantly, this arrangement reflects the overlapping and
                                    duplicative nature of the federal and California laws prohibiting employment discrimination, and
                               27   confirms the intent of Congress that EEOC cooperate and coordinate its enforcement efforts with
                                    FEPAs such as CRD.
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                               1    Judge Dale S. Fischer (C.D. Cal.), who presided over the Activision case, rejected CRD's attempted

                               2    intervention and objection, described the brewing turf war as "unseemly," and reminded CRD that

                               3    discrimination claims belong to and exist for victimized employees, not CRD's own political

                               4    ambitions. RJN ,r,r 8, 14; and Exh. I at 26:17; and Exh. R.

                               5           Instead of learning from this debacle, EEOC and CRD escalated the unseemly competition

                               6    that Judge Fisher had rebuked. Unfortunately, it was now Tesla's turn to be caught in the cross-hairs

                               7    of this inter-agency battle for attention-grabbing headlines, and the Company soon found itself the

                               8    target of two overlapping agency investigations into precisely the same factual complaints.

                               9           D.      EEOC's Halting Pre-Suit Activity Proceeds Much More Slowly Than CRD's
                                                   Slumber-Then-Sprint Process.
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                               11          Although EEOC alleges in its Complaint that there has been ongoing and widespread race
        ...0                   12   discrimination at the Factory since 2015, EEOC's own investigative inaction speaks louder than its
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               -               13   pleading. For years, EEOC did nothing to try to stop or prevent what it now mischaracterizes as
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.,...G) \C)\O 14                    rampant discrimination at the Factory. EEOC only made its initial discovery requests to Tesla six
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                       ~   ~        months after it filed the Commissioner's Charge, in January 2020. See Quon-Vaili Deel. ,r 3; and
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        0                      17   years. EEOC's first discovery requests sought information on Tesla's relationship with staffing
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                               18   agencies, its categories of employee titles and positions, its fair employment policies, its systems,

                               19   policies, and procedures for investigating discrimination complaints, and the names of all Black

                               20   employees in Fremont. Id. Tesla responded to these requests the next month, in February 2020. Id.

                               21

                               22          EEOC's next meaningful communication came nearly ten months later when it submitted a

                               23   second set ofrequests for information in December 2020. Id. ,r,r 5, 7; and Exh. K. By this time it had

                               24   become apparent to Tesla that EEOC and CRD were investigating the exact same allegations.

                               25   EEOC's new requests, for instance, expressly sought documents that Tesla had provided CRD more

                               26   than one year earlier, regarding Black employees' race discrimination complaints. Quon-Vaili Deel.

                               27   ,r 6. These new requests again covered other high-level topics such as the Company's policies,
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1    procedures, and trainings for handling discrimination complaints, and the organization of Tesla's

2    Human Resources ("HR") and Employee Relations ("ER") departments. Id. ,-i 7; and Exh. K. Tesla

3    answered these requests by March 2021, and in April it provided EEOC with personnel files and

4    contact information for employees who had made discrimination complaints, as requested. Quon-

5    Vaili Deel. ,-i,-i 8-9. EEOC then went silent again for nearly a year. Quon-Vaili Deel. ,-i 10. During

6    that time Tesla became aware that EEOC had asked some of its workers to complete an online survey.

7    Id ,-i 11. But EEOC never discussed this survey with Tesla, nor did EEOC involve Tesla any further

8    in its investigation. Id. ,-i,-i 11-12.

9            After these desultory administrative proceedings plodded on for nearly a year and a half with

10   neither agency meaningfully engaging Tesla, the conflict brewing between EEOC and CRD carn.e to

11   a full boil in the fall of 2021. In the Activision case, EEOC announced that it had agreed with the

     Company to settle the sex harassment claims. See Hill Deel. ,-i 16; and Exh. S (Taibbi Article). CRD
     tried to intervene and stop the settlement. In December 2021, Judge Fisher denied CRD's request

     and rebuked both agencies for their failure to coordinate: "[T]his dispute frankly between the agencies

     is a bit unseemly." RJN ,-i,-i 8, 14; and Exh. I at 26:17; and Exh. R. The court further chastised EEOC
     and CRD as follows: "I don't want to see this back-and-forthing with these two agencies. You

     apparently have been working well together for a very long time, and you will need to be working

18   well together in the future to serve both of your constituencies, which are pretty much the sarn.e

19   people[.]" RJN ,-i 8; and Exh. I at 57:10-16.

20           After Judge Fisher blocked CRD's intervention in Activision, and so as not to be outflanked

21   again, CRD rushed to file a lawsuit against Tesla-despite not investigating its allegations or

22   attempting to conciliate with Tesla-before EEOC could bring such a case or negotiate a settlement

23   with Tesla. In January 2022, and notwithstanding CRD having never visited the Factory nor spoken

24   to any Tesla managers or HR representatives about its investigation, CRD abruptly informed Tesla

25   that it had completed its administrative investigation. Quon-Vaili Deel. ,-r 12; Deel. of Sara A. Begley

26   ("Begley Deel.") ,-r 11. CRD then pushed for a statutorily-mandated mediation within a few weeks,

27   and only on condition that Tesla agree not to have any settlement discussions with EEOC prior to the

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                               1    mediation. Id.; and Exh. L. Given that Tesla had not heard from EEOC in nine months, there was

                               2    little risk of immediate settlement on that front, but CRD plainly was afraid EEOC would steal the

                               3    headlines. On February 9, 2022, the day after a sham mediation, CRD filed the CRD Case and

                               4    ensured that broad media coverage followed-such that Tesla first learned of the lawsuit, not through

                               5    service of CRD's complaint, but from the media. Begley Deel. 1 11. Through its Complaint, as

                               6    amended, CRD asserts claims under the California Fair Employment and Housing Act ("FEHA"),

                               7    alleging unlawful discrimination, harassment and retaliation by Tesla against Black employees at the

                               8    Factory, and the creation and maintenance of a hostile work environment-precisely the same

                               9    allegations of misconduct alleged by EEOC in this case, and by the named Plaintiffs in the Vaughn

                               10   Case. See generally RJN 113, 4; Exhs. C (Vaughn SAC) and D (operative First Amended Complaint

                               11   ("FAC") in the CRD Case); and Dkt. No. 1.
        ...0                   12          E.     After CRD Files Suit, EEOC Claims To Have Concluded Its Investigation Into
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                                                  The Very Same Allegations, Though Still Proceeding Without Any Urgency .
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.,...G) \C)\O 14                           Just a few weeks after CRD filed the CRD Case, EEOC re-appeared to inform Tesla that it
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                       ~   ~        too had completed its "investigation." Begley Deel. 1 4. In the ensuing pre-Determination meeting
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        0                      17   Factory for Black workers going back to 2015. Id. 15. Again, these allegations were duplicative of
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                               18   CRD's in the CRD Case. In oral and written communications, Tesla entreated EEOC to more

                               19   earnestly investigate the reality on the ground at the Factory, which bore no resemblance to EEOC's

                               20   (or CRD's) claims. Id. 16. Tesla even provided an in-depth live presentation regarding Tesla's fair

                               21   employment culture and systems. Id. 17. Tesla also pointed out that in the nearly three years since

                               22   EEOC had filed the Commissioner's Charge, EEOC (1) did not visit the Factory even once despite

                               23   having received multiple invitations to do so, (2) did not inquire at all about Tesla's graffiti-

                               24   remediation processes, and (3) did not request to interview a single member of Tesla's management,

                               25   HR or ER teams, despite claiming that these personnel systemically failed to properly address

                               26   workers' complaints of racial discrimination, and despite Tesla's ardent requests that EEOC meet

                               27   with its leadership team. Id. Despite all this, EEOC issued an administrative Determination in June

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                               1    2022, finding cause to conclude that "ongoing" and "pervasive" discrimination against Black

                               2    employees exists at the Factory, while failing entirely to identify any facts to support that finding. Id.

                               3    1 8; RJN 1 9; and Exh. M.
                               4           Faced with this Determination, Tesla asked EEOC to share further information regarding what

                               5    departments, managers, or teams were most responsible for the alleged hostile work environment.

                               6    See Begley Deel. 16. Tesla even proposed that EEOC could anonymize the requested information,

                               7    if it would alleviate any (unfounded) concerns about retaliation. Id. But-contrary to the allegation

                               8    in paragraph 12 of its Complaint-EEOC refused to provide any such facts . Id. 116, 9; cf Dkt. No.

                               9    1112 ("The Commission engaged in communications with Tesla to provide Tesla the opportunity to

                               10   remedy the discriminatory practices described in the Letter of Determination."). Apparently, the

                               11   "ongoing" and "pervasive" discrimination that EEOC decried did not warrant the agency providing
        ...0                   12   Tesla information that Tesla could actually use to address the agency's concerns and rectify any
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               -               13   problems. Suffice it to say, at no point throughout EEOC's three-year "investigation" did the agency
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        "'"                                It was not until June 2023 that EEOC and Tesla finally met for their statutorily-mandated
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                                    conciliation, which EEOC soon declared had failed. See id. 1 10. Three months then went by with
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                                    more silence from EEOC. Then, at the end of September 2023, EEOC filed its Complaint in this case
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                                    and issued a splashy press release. Id.; and Exh. N.
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                                           As previously noted, EEOC' s Title VII claims are duplicative of the claims of discrimination,
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                                    harassment, retaliation and hostile work environment alleged in the Vaughn and CRD Cases. EEOC
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                                    alleges that since 2015 (1) Tesla has created a hostile work environment for Black workers at the
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                                    Factory by failing to address and prevent uses of the N-word and racist graffiti; and (2) Tesla
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                                    managers have retaliated against Black workers who complained of such harassment. (Dkt. No. 1 11
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                                    16-57.) Spanning just three pages of the Complaint, EEOC's factual allegations include a handful of
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                               1    quotes of unknown provenance and state in conclusory fashion that the alleged harassment was

                               2    "pervasive." (Id. ,, 16--43.) The Complaint does not identify any specific aggrieved workers or

                               3    groups thereof, and, just like the named Plaintiffs in the Vaughn Case and CRD in the CRD Case,

                               4    EEOC apparently brings this action on behalf of the thousands of Black employees who have worked

                               5    at the Factory since 2015. 3

                               6    IV.     ARGUMENT

                               7            A.      This Case Should Be Stayed Based On The Colorado River Doctrine.
                               8            Although federal courts are generally obliged to exercise their jurisdiction, an exception to

                               9    this rule exists under the Colorado River doctrine. See Colo. River, 424 U.S. at 817-18; Nakash v.

                               10   Marciano, 882 F.2d 1411, 1415-16 (9th Cir. 1989). 4 Under that doctrine, a federal court may stay a

                               11   case over which it has jurisdiction in deference to an ongoing and parallel state court proceeding, if
        ...0                   12   such deference will promote "[w]ise judicial administration, giving regard to conservation of judicial
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                       ~   ~                The threshold question in applying the Colorado River doctrine is whether the concurrent
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     ;:s rnE--i:....           16   state court proceeding is "substantially similar" to the federal court case. Nakash, 882 F.2d at 1416.
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        0                      17   If the cases are substantially similar, then district courts within the Ninth Circuit apply an eight-factor
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                               18   test to determine whether a stay should be entered. Those eight factors include the following:

                               19                  (1) which court first assumed jurisdiction over any property at stake;
                                                   (2) the inconvenience of the federal forum; (3) the desire to avoid
                               20                  piecemeal litigation; (4) the order in which the forums obtained
                                                   jurisdiction; (5) whether federal law or state law provides the rule of
                               21                  decision on the merits; (6) whether the state court proceedings can
                                                   adequately protect the rights of the federal litigants; (7) the desire to
                               22                  avoid forum shopping; and (8) whether the state court proceedings will
                                                   resolve all issues before the federal court.
                               23

                               24   3 A motion for class certification now pending in the Vaughn Case seeks to certify a class of more
                                    than 6,000 former and current Black workers at the Factory. Hill Deel., 4.
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                                    4 Although the Colorado River doctrine is at times analogized to a form of abstention, the Ninth
                               26   Circuit has held that the doctrine is in fact "a form of deference to state court jurisdiction," rather
                                    than abstention. See Coopers & Lybrand v. Sun-Diamond Growers of CA, 912 F.2d 1135, 1137
                               27   (9th Cir. 1990); see also Nakash, 882 F.2d at 1415 n.5.
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                               1    Montanore Minerals Corp. v. Bakie, 867 F.3d 1160, 1166 (9th Cir. 2017). Courts should apply these

                               2    factors in a "pragmatic, flexible manner," recognizing that one or more of the factors may not apply

                               3    or be relevant in a particular case. Moses H Cone Memorial Hosp. v. Mercury Constr. Co., 460 U.S.

                               4    1, 16 (1983); Montanore Minerals Corp., 867 F.3d at 1166.

                               5           As discussed below, the Colorado River factors relevant to this motion weigh heavily in favor

                               6    of a stay of all proceedings in this case pending completion of the State Court Actions. 5

                               7           B.      The State Court Actions And This Case Are Substantially Similar.

                               8           "[S]tate and federal proceedings are substantially similar if they arise out of the same alleged

                               9    conduct and seek to vindicate the same rights." Goodin v. Vendley, 356 F. Supp. 3d 935, 944 (N.D.

                               10   Cal. 2018); Brito v. New United Motor Mfg., Inc., No. C 06-06424-JF, 2007 WL 1345197, at *3 (N.D.

                               11   Cal. May 8, 2007) ("Courts of this district have held state and federal proceedings to be 'substantially
        ...0                   12   similar' when they arise out of the same alleged conduct[.]").
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               -               13          "Exact parallelism is not required." Scottsdale Ins. Co. v. Parmerlee, Case No. 19-mc-80298-
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.,...G) \C)\O 14                    JSC, 2020 WL 1332146, at *4 (N.D. Cal. Mar. 23, 2020) (internal alterations and quotation marks
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                       ~   ~        omitted). The Colorado River doctrine may be invoked even if federal claims and relief are being
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     ;:s rnE--i:....           16   pursued in one case, and state law claims and relief are being pursued in the concurrent case. Goodin,
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                                    365 F. Supp. 3d at 944 ("Plaintiffs nonetheless insist that the claims are not substantially similar
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                               18   because in this action [unlike the concurrent state court case] they are seeking to vindicate their rights

                               19   under federal law and they would be entitled to different remedies under federal law. But this is not

                               20   the rule - state and federal proceedings are substantially similar if they arise out of the same alleged

                               21   conduct and seek to vindicate the same rights" (emphasis added)).

                               22          Here, this case and the State Court Actions are substantially similar. Like the aggrieved group

                               23   alleged in EEOC's Complaint-namely, all African American and/or Black employees at the Factory

                               24   within the statutory period (Dkt. No. 1 , 16}-the putative class in the Vaughn Case and the alleged

                               25   aggrieved group in the CRD Case include all African American workers at the Factory within the

                               26   5 The first Colorado River factor is irrelevant here because there is no property or res at stake in the
                                    subject cases. The second factor is neutral because the State Court Actions and this case are
                               27   pending in one of two San Francisco Bay Area courts, and neither forum has a convenience
                                    advantage over the other.
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1    statutory periods. See Dkt. No. 1 ,-r 16; RJN ,-r,-r 3, 4; Exh. C (Vaughn SAC) ,-r 48 and Exh. D (CRD

2    FAC) ,-i 14. Moreover, the two claims for relief asserted in EEOC's Complaint are based on the same

3    factual allegations, and seek to vindicate what are essentially the same legal rights, as certain of the

4    claims for relief alleged in the State Court Actions. Compare Dkt. No. 1 ,-i,-i 44-57, with Exh. C

5    (Vaughn SAC) ,-r,-r 73-82, and Exh. D (CRD FAC) ,-r,-r 59-68, 141-149; see RJN ,-r,-r 3, 4. And, again,

6    it is of no consequence that the claims in this case are asserted under Title VII and the claims in the

7    State Court Actions are asserted under the FEHA. "California courts have determined that, because

8    FEHA embodies the same anti-discrimination and public-policy objectives as Title VII, the test for

9    determining whether there is discrimination under Title VII applies to FEHA claims as well." Tarin

10   v. County ofL.A., 123 F.3d 1259, 1263 at n.2 (9th Cir. 1997), supers. by statute on other grounds as

11   stated in Lisek v. Brightwood, 278 F.3d 895, 899 n.2 (9th Cir. 2002). Indeed, a federal court

     considering a Title VII discrimination claim is required to give preclusive effect to a state court
     judgment on a similar state discrimination claim. Kremer v. Chemical Constr. Corp., 456 U.S. 461,
     484-85 (1982).
            Hostile work environment claims brought under Title VII and the FEHA both require a
     plaintiff to show "(1) that he [or she] was subjected to verbal or physical conduct of a racial or sexual
     nature; (2) that the conduct was unwelcome; and (3) that the conduct was sufficiently severe or

18   pervasive to alter the conditions of the plaintiffs employment and create an abusive work

19   environment." See Vasquez v. County of L.A., 349 F.3d 634,642 (9th Cir. 2003) (elements of Title

20   VII hostile work environment claim); Lyle v. Warner Bros. Television Prods., 38 Cal. 4th 264, 279

21   (2006) ("California courts have adopted the [Title VII] standard for hostile work environment sexual

22   harassment claims under the FEHA."); see also 42 U.S.C. § 2000e-3; Cal. Gov. Code,§ 12940. Here,

23   both the State Court Actions and EEOC in this case assert claims of hostile work environment based

24   on allegations of racial slurs and insults, racial stereotyping, and racist graffiti.            Consider the

25   following parallel allegations in these cases:

26              •   Frequent use of the N-word and racial slurs by non-Black employees (RJN ,-r,-r

27                  3, 4; and Exh. C ,-r,-r 15, 16, 35; Exh. D ,-r,-r 35-37; and Dkt. No. 1 ,-r,-r 17-23)

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                                1                •   Use of the N-word by supervisors, leads, and managers (RJN ,-i,-i 3, 4; and Exh.

                                2                    C ,-r,-r 15, 16, 22, 35; Exh. D ,-r,-r 35, 38; and Dkt. No. 1 ,-r,-r 18, 21, 22)

                                3                •   Use of racial slurs witnessed by supervisors, leads, and managers (RJN ,-i,-i 3,

                                4                    4; and Exh. C ,-r 30; Exh. D ,-r 38; and Dkt. No. 1 ,-r 34)

                                5                •   Use ofracial insults (RJN ,-i,-i 3, 4; and Exh. C ,-i 22; Exh. D ,-i 35; and Dkt. No.

                                6                    1 ,-r 24)

                                7                •   Racial stereotyping, such as lazy (RJN ,-i,-i 3, 4; and Exh. C ,-i 35; Exh. D ,-i,-i 35,

                                8                    37; and Dkt. No. 1 ,-r 42)

                                9                •   Racist graffiti in restrooms (RJN ,-i,-i 3, 4; and Exh. C ,-i 29; Exh. D ,-i 39; and

                                10                   Dkt. No. 1 ,-r 29)

                                11               •   Racist graffiti on equipment and machinery (RJN ,-i 4; Exh. D ,-i 39; and Dkt.
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....:l;9 r---                   13               •   Racial epithets (RJN ,-r,-r 3, 4; and Exh. C ,-r 29; Exh. D ,-r 39; and Dkt. No. 1 ,-r,-r
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                   Q)   ~   ~                The operative Complaints in this case, the CRD Case, and the Vaughn Case all allege
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                            ~ 16     (inaccurately) that Black employees informed Telsa supervisors and HR of the racial slurs and graffiti,
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                                17   but that Tesla failed to take preventative or corrective action, such as adopting anti-harassment

                                18   policies, investigating complaints, or removing the graffiti. See, e.g., RJN, ,-i,-i 3, 4; and Exh. C ,-i,-i 18,

                                19   26, 30-31, 40-47; Exh. D ,-r,-r 49, 51; and Dkt. No. 1 ,-r,-r 37-39.

                                20           EEOC's retaliation claim relies on factual allegations and legal standards that are identical to

                                21   those asserted in the State Court actions. The anti-retaliation provisions of both Title VII and the

                                22   FEHA protect employees who (1) engaged in a protected activity, and (2) suffered an adverse

                                23   employment action, if (3) there was a causal link between the employee's protected activity and the

                                24   adverse employment action. See Thomas v. City of Beaverton, 379 F.3d 802, 811 (9th Cir. 2004)

                                25   (elements of Title VII retaliation); Flait v. North Am. Watch Corp., 3 Cal. App. 4th 467, 475-76 (Cal.

                                26   Ct. App. 1992) (stating that FEHA retaliation claims "are evaluated under federal law interpreting

                                27   [T]itle VII cases"); see also 42 U.S.C. § 2000e-3; Cal. Gov. Code § 12940(h). EEOC alleges that

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                               1    Black employees at Tesla were retaliated against for reporting or opposing racial harassment by

                               2    "schedule changes, less desirable duties, reassignments, unjustified write-ups, and discharge." Dkt.

                               3    No. 1 ,r 42. CRD alleges the exact same retaliatory conduct. See RJN ,r 4; Exh. D ,r 143 (alleging

                               4    employees were retaliated against through "disciplinary write-ups; forced transfers to less desirable

                               5    assignments or locations; constructive discharge; and termination").

                               6           It also bears noting that the State Court Actions are "more comprehensive" lawsuits than

                               7    EEOC's case-a fact that further weighs in favor of Colorado River deference to the state court

                               8    proceedings. See Nakash, 882 F.2d at 1416--17. For example, CRD has pied far more causes of

                               9    action than EEOC, including claims for unequal pay and discriminatory job assignments, promotions,

                               10   terminations, discipline and promotions, as well as a failure by Tesla to prevent discrimination and

                               11   harassment. Compare Dkt. No. 1 ,r,r 16--43, with Exh. D ,r,r 35-55; see RJN ,r 4. In addition, the
        ...0                   12   FEHA provides broader protections to victims of discrimination and harassment than does Title VII,
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               -               13   as the FEHA applies to more categories of workers, has a longer statute of limitations, and provides
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                       ~   ~        42 U.S.C. §§ 2000e-3, 2000e-5(e), 1981a(b)(3); see Thompson v. Amtrak, No. C 08-03280 CRB,
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     ;:s rnE--i:....           16   2009 U.S. Dist. LEXIS 147483, at *8 (N.D. Cal. Apr. 24, 2009) (FEHA remedies include "unlimited
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                                    compensatory damages").
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        "'"
                               18          In sum, the State Court Actions and this case are substantially similar for Colorado River

                               19   purposes.

                               20          C.      The Colorado River Factors Relevant To This Case Favor A Stay.

                               21                  1.      Desire To Avoid Piecemeal Litigation.

                               22          The danger of piecemeal litigation is the "paramount" consideration in applying the Colorado

                               23   River doctrine. See Moses H Cone, 460 U.S. at 19. "Piecemeal litigation occurs when different

                               24   tribunals consider the same issue, thereby duplicating efforts and possibly reaching different results."

                               25   See R.R. St. & Co. v. Transp. Ins. Co., 656 F.3d 966, 979 (9th Cir. 2011) (quoting Am. Int'!

                               26   Underwriters, (Philippines), Inc. v. Cont 'llns. Co., 843 F .2d 1253, 1258 (9th Cir. 1988)); RRI Assocs.

                               27   LLC v. Huntington Way Assocs., LLC, Case No. 2:22-cv-3273, 2023 WL 2445589, at *5 (S.D. Ohio

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1    Mar. 10, 2023) ("Piecemeal litigation occurs when parallel cases with overlapping claims are litigated

2    at the same time with the possibility of inconsistent results."); Montanore Minerals Corp., 867 F.3d

3    at 1171 (reversing and remanding to district court to stay the federal proceedings, in part, because

4    "[t]he state court first obtained jurisdiction ... and the parallel proceedings presented the risk of

5    inconsistent dispositions"). There is significant risk of piecemeal litigation here, inasmuch as the

6    claims and defenses in this case and the State Court Actions substantially overlap, and Judge Grillo

7    has already issued many rulings on issues relevant to those claims and defenses. See James v. San

8    Diego Christian College, No. 14cv314 BEN (DHB), 2015 WL 915366, at *1, 3 (S.D. Cal. Mar. 3,

9    2015) (district court orders stay of Title VII lawsuit until conclusion of concurrent FEHA case filed

10   in state court to "avoid piecemeal litigation."); Riley v. City ofRichmond, No. C-13-4 752 MMC, 2014

11   WL 5073804, at *4 (N.D. Cal. Oct. 9, 2014) (same); 1-800 Remodel, Inc. v. Bodor, CV 18-472-DMG

     (Ex), 2019 WL 856399, at *3 (C.D. Cal. Jan. 28, 2019) (same).

            It is important to reiterate and further emphasize that California courts consistently apply Title

     VII principles and case law when considering analogous FEHA provisions. See Goodwin v. Hunt

     Wesson, Inc., 150 F.3d 1217, 1219 (9th Cir. 1998); Okoli v. Lockheed Tech. Operations Co., 36 Cal.
     App. 4th 1607, 1614 n.3 (1995) ("Since the antidiscrimination objectives and public policy purposes

     of [FEHA and Title VII] are the same, we may rely on federal decisions to interpret analogous parts

18   of the state statute." (quoting Sandhu v. Lockheed Missiles & Space Co., 26 Cal. App. 4th 846, 851

19   (1994))); see also, e.g., Lyle, 38 Cal. 4th at 279 ("California courts have adopted the [Title VII]

20   standard for hostile work environment sexual harassment claims under FEHA."); Flait, 3 Cal. App.

21   4th at 475-76 (stating that FEHA retaliation claims "are evaluated under federal law interpreting Title

22   VII cases"). Moreover, California courts have concurrent jurisdiction over Title VII claims and thus

23   must remain up-to-date on Title VII developments. See Yellow Freight Syst. v. Donnelly, 494 U.S.

24   820, 826 (1990). In sum, because Title VII and FEHA claims are subject to and decided under ''the

25   same guiding principles," Liu v. Amway Corp., 347 F.3d 1125, 1139 n.1 (9th Cir. 2003), there is a

26   significant risk of duplicative motions, discovery requests and court rulings here, the very essence of

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                               1    piecemeal litigation. Indeed, Judge Grillo has already invoked and relied upon Title VII case law in

                               2    making rulings in the State Court Actions. See, e.g., RJN ,r 12; Exh. P.

                               3                    2.      The Order In Which The Forums Obtained Jurisdiction.

                               4             This factor strongly weighs in favor of a stay. "In determining the order in which the state

                               5    and federal courts obtained jurisdiction, district courts are instructed not simply to compare filings

                               6    dates, but to analyze the progress made in each case in a pragmatic, flexible manner with a view to

                               7    the realities of the case at hand." Seneca Ins. Co., Inc. v. Strange Land, Inc., 862 F.3d 835, 843 (9th

                               8    Cir. 2017) (internal citation and quotation marks omitted). Accordingly, federal courts consider the

                               9    respective filing dates of the actions and the advancement oflitigation in each forum, i.e., how

                               10   much progress has occurred comparatively in the subject actions.

                               11            The Vaughn Case was filed on November 13, 2017, and the CRD Case was filed on February
        ...0                   12   9, 2022. In both cases, the parties have advanced well past the early pleading stage in which the
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               -               13   instant case still finds itself. In the State Court Actions, Judge Grillo has collectively decided 57
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                       ~   ~        conferences and other hearings. In addition, an enormous amount of discovery has occurred in the
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        0                      17   83,000 pages of documents. Multiple appellate proceedings have taken place in the Vaughn Case,
        "'"
                               18   and CRD has also sought appellate relief in the CRD Case. In sum, there is no question that the State

                               19   Court Actions are far more advanced than is this case. Hill Deel. ,r,r 3, 4, 6, 7; RJN ,r,r 1, 2; and Exh.

                               20   A (a copy of the court docket in the Vaughn Case), Exh. B (a copy of the court docket in the CRD

                               21   Case).

                               22                   3.      Whether Federal Or State Law Provides The Rule of Decision On The
                                                            Merits.
                               23

                               24            Although federal law provides the rule of decision as to EEOC's Title VII claims, and state

                               25   law provides the rule of decision as to the FEHA claims asserted in the State Court Actions, this factor

                               26   has little significance because federal and state law is "essentially the same" with regard to these like

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                               1    claims. See Riley, 2014 WL 5073804, at *3, 8 (granting stay of Title VII case in deference to

                               2    concurrent FEHA case); James, 2015 WL 915366, at *3 (same).

                               3                   4.      Whether The State Court Proceeding Can Adequately Protect The
                                                           Rights Of The Federal Litigants.
                               4

                               5           Whether the state court proceedings can adequately protect the rights of the federal litigants

                               6    is sometime referred to as the "adequacy" factor. See R.R. St., 656 F.3d at 978-79, 981. In truth, the

                               7    adequacy factor only examines whether the state court might be unable to enforce federal rights. See,

                               8    e.g., Moses H Cone, 460 U.S. at 26-27 (finding state proceedings might be inadequate to enforce

                               9    federal rights because it was unclear whether state courts would compel arbitration under the Federal

                               10   Arbitration Act). To be clear, "[t]his factor involves the state court's adequacy to protectfederal

                               11   rights, not the federal court's adequacy to protect state rights." Travelers Indemn. Co. v. Madonna,
        ...0                   12   914 F.2d 1364, 1370 (9th Cir. 1990) (citing Moses H Cone, 460 U.S. at 26). Thus, here again, this
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               -               13   factor weighs decidedly in favor of a stay.
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 Ol)G><NN                                  For example, CRD is litigating claims of hostile work environment and retaliation on behalf
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                                    of all Black workers at Tesla's California facilities within the statutory period, which is June 2018
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        ;:s rnE--i:....        16   through the present. See RJN ,r,r 4, 12; Exh. D ,r,r 59--68, 141--49; Exh. Pat 5--6 (order in CRD Case
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                                    finding I-year statutory period for FEHA discrimination claims, and defining scope of CRD's claims
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        "'"
                               18   to include all California employees). EEOC asserts two identical claims, but does so on behalf of a

                               19   subset ofCRD's aggrieved group (i.e., only Tesla's Factory employees), and for only a portion of the

                               20   liability period applicable to CRD's claims (i.e., 300 days before the Commissioner's Charge was

                               21   filed in late May 2019 to the present). Dkt. No. 1 ,r,r 44--57; RJN ,r 5; Exh. F (EEOC Commissioner's

                               22   Charge, issued May 30, 2019). See Arizona ex rel. Horne v. Geo Grp., Inc., 816 F.3d 1189, 1203

                               23   (9th Cir. 2016) (recognizing that EEOC may bring claims under Title VII for discrimination that

                               24   occurred up to 300 days before the Commissioner or Complainant filed their charge). Moreover, for

                               25   each aggrieved worker, the FEHA authorizes CRD to seek unlimited compensatory and punitive

                               26   damages, whereas under Title VII, EEOC can only request damages up to $300,000 per employee.

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                               1    Compare Cal. Gov. Code§ 12965, with 42 U.S.C. § 1981a(b)(3)(D); see Thompson, 2009 U.S. Dist.

                               2    LEXIS 147483, at *8.

                               3           Thus, not only do the State Court Actions provide adequate protections for the rights of the

                               4    aggrieved employees on whose behalf EEOC has filed this case, the State Court Actions present those

                               5    employees with rights and potential recoveries that far exceed those available through this action.

                               6                   5.      Whether The State Court Proceedings Will Resolve The Issues Before
                                                           The Federal Court.
                               7

                               8           The final relevant Colorado River factor is "whether the state court proceedings will resolve
                               9    all issues before the federal court." This is the so-called "parallelism" factor. See R.R. St., 656 F.3d
                               10   at 978-79, 982. As previously discussed, EEOC's claims for relief are duplicative of claims pled in
                               11   the State Court Actions. Moreover, the principles relevant to the disposition of those federal and state
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                                    claims are "essentially the same." Riley, 2014 WL 5073804, at *3. Indeed, federal and California

                                    courts have repeatedly held that the resolution of a claim under Title VII or the FEHA may preclude
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                                    resolution of a state law discrimination claim serves to bar a federal discrimination claim based on
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     ;:s rnE--i:....           16   same facts). As the California Court of Appeal held in Acuna v. Regents of University of California:
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        0                      17   "Here the race and ethnicity claims, whether brought under Title VII or the FEHA, arise from the
        "'"
                               18   same primary right: the right to be free of invidious employment discrimination." 56 Cal. App. 4th
                               19   639, 649 (1997) (holding that prior federal court proceeding precluded later state court action based
                               20   on same alleged discrimination).
                               21          For all these reasons, this case and the State Court Actions are substantially similar, and the
                               22   Colorado River factors weigh heavily in favor of a stay of all proceedings.
                               23          D.      The Failure Of EEOC To Endeavor In Good Faith To Engage Tesla In Pre-Suit
                                                   Conciliation Also Warrants A Stay Of This Action.
                               24

                               25          EEOC' s "foremost" purpose, according to its mission statement, is to "[p]revent and remedy

                               26   unlawful    employment       discrimination."        (See    EEOC      Strategic     Plan   2022-2026,

                               27   https://www.eeoc.gov/eeoc-strategic-plan-2022-2026 (emphasis added).)              Consistent with that

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1    purpose, Title VII mandates that before EEOC files a lawsuit, it "shall endeavor to eliminate [an]

2    alleged unlawful employment practice by informal methods of conference, conciliation, and

3    persuasion." 42 U.S.C. § 2000e-5(b) (emphasis added). As the Supreme Court has recognized, this

4    obligation to conciliate "is mandatory, not precatory," and "serves as a necessary precondition to

5    filing a lawsuit." Mach Mining, 575 U.S. at 486. This is because, in crafting Title VII, "Congress

6    chose '[c]ooperation and voluntary compliance' as its 'preferred means."' Id (alteration in original)

7    (quoting Ford Motor Co. v. EEOC, 458 U.S. 219,228 (1982)). EEOC's compliance with its pre-suit

8    conciliation obligation is subject to judicial review and enforcement. Id at 488-89. "EEOC must

9    try to engage the employer in some form of discussion ... so as to give the employer an opportunity

10   to remedy the allegedly discriminatory practice." Id at 494. lfEEOC fails to do so, the appropriate

11   remedy is to stay the action and "order the EEOC to undertake the mandated efforts to obtain

     voluntary compliance." Id. at 495 (citing 42 U.S.C. § 2000e-5(f)(l) as authorizing a stay of a Title

     VII action for this purpose)).

            Here, EEOC failed to comply with Title VII' s conciliation mandate. EEOC consistently

     refused to provide Tesla any specific facts or evidence from its investigation that might give Tesla

     "an opportunity to remedy the allegedly discriminatory practice." Id at 494; Begley Deel.,, 6-9. If

     EEOC earnestly believed that racist harassment was "ongoing" and "pervasive" at the Factory-

18   where graffiti purportedly urged workers to "kill black people"-it is unconscionable that the agency

19   intentionally failed to provide Tesla the means to voluntarily address the issue. Again, EEOC's

20   foremost purpose is to "prevent and remedy" discrimination. But even after EEOC finally concluded

21   its intermittent and unhurried investigation, issued a Determination, and then filed this lawsuit, Tesla

22   still has no clue as to which managers, teams, or departments in the Factory EEOC considers to be

23   sources of ongoing discrimination and racial harassment and retaliation. It is thus clear that EEOC' s

24   goal was never to conciliate with Tesla and "endeavor" to obtain Tesla's "voluntary compliance" so

25   as to "remedy [an] allegedly discriminatory practice." Mach Mining, 575 U.S. at 494-95. Rather,

26   EEOC's goal was always to file a headline-grabbing complaint at some politically expedient time.

27          For this additional reason, the Court should stay this action until EEOC engages Tesla in an

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                                 1    earnest effort to remedy the discrimination it has purportedly found to exist at the Factory.

                                 2    V.     CONCLUSION

                                 3           For all the foregoing reasons, Tesla's motion to stay all proceedings in this case should be

                                 4    granted.

                                 5                                                  Respectfully submitted,

                                 6    Dated: December 18, 2023                      HOLLAND & KNIGHT LLP

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                                 8                                                  By:       Isl Thomas E. Hill
                                                                                          Thomas E. Hill
                                 9                                                        Attorneys for Defendant
                                                                                          TESLA, INC.
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